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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §                     Case No: 2:21-cv-03166
                                      §
vs.                                   §                     PATENT CASE
                                      §
WIRELESS LINKS, INC.,                 §
                                      §
      Defendant.                      §
_____________________________________ §


                         NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Social Positioning Input Systems, LLC,

LLC (“Plaintiff”) hereby dismisses the Complaint in the within action without prejudice.


 March 5, 2021

                                                  /s/ Mark A Kriegel
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                                                 LLC
